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Case No. 22-60060

 

IN THE UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT

 

In re: HEARTWISE, INC.,
Debtor.

 

VITAMINS ONLINE, INC.,
Appellant,
v.
MAGLEBY, CATAXINOS & GREENWOOD, P.C.;
HEARTWISE, INC.,
Appellees.

 

On Appeal from
The United States Bankruptcy Appellate Panel of the Ninth Circuit,
BAP Case No. CC-22-1089-LSG,

Hon. Scott H. Gan, Hon. William J. Lafferty, III, and Hon. Gary A. Spraker;
United States Bankruptcy Court for the Central District of California, Santa Ana,
Bankruptcy Case No. 8:20-bk-13335-SC, Hon. Scott C. Clarkson,
(Formerly Case No. 8:20-bk-13335-MW, Hon. Mark S. Wallace, retired).

 

OMNIBUS REPLY TO APPELLEES’ OPPOSITIONS TO
APPELLANT’S MOTION PURSUANT TO CIRCUIT RULE 3-6(a)(1)
FOR AN ORDER VACATING APPEALED ORDERS
ISSUED WITHOUT JURISDICTION

 

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OMNIBUS REPLY

Appellant VOL' hereby submits this reply (the “Reply”) in support of its
Motion Pursuant to Circuit Rule 3-6(a)(1) For An Order Vacating Appealed
Orders Issued Without Jurisdiction [Case No. 22-60060, Dkt. No. 15] (the
“Motion”), The Reply addresses MCG’s opposition [Dkt. No. 16] (“MCG
Response”) and Heartwise’s opposition [Dkt. No. 17] (“Heartwise Response,”
together with MCG Response, the “‘Responses”) to the Motion.

SUMMARY OF REPLY

In its Motion, VOL raised exactly one Issue: “Did the District Court, and by
reference the Bankruptcy Court, have jurisdiction of the Proceeding under 28
U.S.C. § 1334(b)?” (the “Issue”) [Motion, p. 10.] The Issue pertains to exactly one
Proceeding below, the MCG Objection, and nothing else. Unable to demonstrate
that the Bankruptcy Court had jurisdiction over that Proceeding, appellees’
Responses create a strawman and then attack it using red herring arguments in an
attempt to distract and obfuscate. Specifically, the Responses first misstate the
Issue to create a “strawman issue” pertaining to two proceedings, i.e., MCG’s

Objection and VOL’s objection,’ and avoid addressing the actual Issue raised via

 

' Unless stated otherwise, the capitalized terms referenced herein have the
same meaning ascribed to them in the Motion.

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the Motion. This attempt to intertwine a different proceeding with the challenged
Proceeding is untenable because the proceeding commenced by VOL’s
objection—filed by a different party, at a later time, invoking different statutes,
and seeking different relief—has no bearing on whether the lower court had
jurisdiction over the MCG Objection at the time of its filing. Appellees’ Responses
obscure the Issue by conflating the proceedings and then argue that the Bankruptcy
Court had jurisdiction of the “matters,” “claims,” and “objections”—in the
plural—using arguments that misrepresent the record itself.’

The Responses’ resolute refusal to squarely address the only dispositive
Issue presented by the Motion—the subject-matter jurisdiction of the Proceeding—
underscores the fact that the Bankruptcy Court had no jurisdiction over the MCG
Objection. Appellees’ desperate attempts to piggyback the Proceeding on to VOL’s
objection to Claim 5, over which the lower court did have jurisdiction, must fail.
Because appellees make no attempt to answer the actual Issue, the conclusion
remains uncontroverted that the Bankruptcy Court lacked jurisdiction. The law is
clear: for the Bankruptcy Court to have jurisdiction over the Proceeding, it must be

at least “related to” the Bankruptcy Case such that the outcome of the Proceeding

 

> FRAP 27(d)(2)(C) provides only 2,600 words for this Reply, which is
insufficient to point out the wumerous misrepresentations of the record in the
Responses, Therefore, VOL addresses only arguments necessary for the Court to
determine the Issue.
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has an effect on the bankruptcy estate. The Responses make no attempt to
demonstrate that the Proceeding passes this test. Appellees’ irrelevant arguments
attempting to obscure the Issue should be disregarded in their entirety, and the
Motion granted.

REPLY ARGUMENT

I. As a Threshold Matter, the Heartwise Response and its Exhibit 1
Must Be Stricken

The Heartwise Response exceeds the 5,200 words limit and, therefore, is not
compliant with FRAP 27(d)(2)(A). This is not a mere oversight because Heartwise
engaged in the same gamesmanship of filing an overlength brief at the BAP.
[Declaration of Chad E, Nydegger in Support of Appellant’s Reply in Support of
Its Motion Pursuant to Circuit Rule 3-6(A)(1) (“Nydegger Declaration”), paras. 8-
11.] Heartwise then filed a supposedly corrected brief which falsely certified that it
was compliant, when in fact it was still overlength when the footnotes were
included in the word count as required. [/d.] Heartwise’s litigation misconduct has
been a persistent problem for years. [See, e.g., Motion, Ex. G, pg. 43-44.]
Therefore, this time, the Court should disregard the Heartwise Response in its
entirety. N/S Corp. v. Liberty Mut. Ins. Co., 127 F.3d 1145, 1146 (9th Cir. 1997).

Further, Exhibit 1 attached to the Heartwise Response violates FRCP 11(a),
incorporated by FRBP 901 1(a), which provides: “An unsigned paper shall be

stricken unless omission of the signature is corrected promptly after being called to

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the attention of the attorney or party.” VOL called the deficient pleading to
Heartwise’s attention on April 8, 2022, but Heartwise did not file a corrected
signed pleading. [Nydegger Decl., paras. 12-14.] Therefore, Ex. 1 must be stricken.
Courts have no discretion to let such pleadings remain on the docket. Moore v.
Petsmart, Inc., No. 16-16124, at *4 (9th Cir. Mar. 29, 2018) (“...courts must strike
an unsigned paper unless the omission is promptly corrected after being called to
the attorney’s or party’s attention.”) (original emphasis).

II. The Responses Make Key Concessions

In their Responses, appellees either concede or make no attempt to rebut the
follow key contentions:

e Jurisdiction over the Proceeding must be ascertained as of May 29, 2021.

e Events occurring after May 29, 2021, cannot confer jurisdiction over the

Proceeding.

@ MCG had the burden of establishing that the Bankruptcy Court had

jurisdiction over the Proceeding.

e The Bankruptcy Court was required to assume it Jacked jurisdiction of the

Proceeding, but it did not.

@ The Bankruptcy Court, BAP, and even this Court, must determine the
existence of federal jurisdiction solely by the examination of the MCG

Objection without regard to the defendant’s pleadings.
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e Jurisdiction over the Proceeding must be assessed from the substance of the
allegations (facts about the Letter), the claim (that VOL “effectively assigns”
is collection rights), and the relief sought (a declaratory order redirecting
payment from VOL to MCG). Through silence, the Responses concede these

points.

@ The Objection does not invoke 11 U.S.C. § 502, and does not seek
disallowance of VOL’s Claim 3.

e Ifthe outcome of the Proceeding has no effect over the bankruptcy estate,

then the Bankruptcy Court had no jurisdiction.

III. Arguments Irrelevant to the Determination of Subject-Matter
Jurisdiction of the Proceeding Should Be Disregarded

Instead of attempting to rebut the foregoing contentions, the Responses
provide irrelevant red herring arguments that should be entirely disregarded.
Appellees ignore the substance of MCG’s pleading (i.e., the allegations, the claim,
and the relief sought), and make conclusory arguments that pretend the Objection
sought disallowance of Claim 3 based on its caption. The Responses address a
strawman issue created by intertwining the jurisdiction of the Proceeding with the
jurisdiction of the separate proceeding commenced by VOL’s filing of its objection
on November 8, 2021, five months after the time for which jurisdiction of the

Objection must be established, i.e., May 29, 2021.
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e VOL’s Motion: “Did the District Court, and by reference the

Bankruptcy Court, have jurisdiction of the Proceeding under 28
U.S.C. § 1334(b)?”

@ MCG Response: “VOL seeks summary disposition based solely on its
allegation that the lower courts lacked subject matter jurisdiction over

the claim objections at issue.” [pg. 5.]

e Heartwise Response: “The Motion erroneously asserts that the
Bankruptcy Court, and subsequently the Bankruptcy Appellate Panel
(“BAP”), lacked jurisdiction to address objections to competing
claims (collectively, “Claim Objections”) against a fund established
for the payment of such claims pursuant to the Reorganized Debtor’s

confirmed chapter 11 plan (““Plan”).” [pg. 1]

Notably, the Responses address the “objections” and “claims” in the plural.
This mischaracterizes the Motion that raised the one Issue about the one
Proceeding commenced by the one Objection filed by MCG. Appellees argue
jurisdiction exists over multiple proceedings collectively, which makes it
impossible to figure out whether any of their arguments actually address the Issue
of jurisdiction of the one Proceeding. Therefore, the Court should disregard them.

What is missing in the Responses is deafening by its silence. Specifically,
the Responses provide zero analysis to demonstrate that the outcome of the

Proceeding has any effect on the bankruptcy estate.
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IV. Events After May 29, 2021, Cannot Confer Jurisdiction on the
Proceeding

The facts recited by the appellees, and relied upon in their Responses, almost
entirely pertain to procedural events occurring after May 29, 2021. These should
be disregarded. Moreover, appellees do not state the relevance of these subsequent
events to the Issue of whether the Bankruptcy Court had jurisdiction of the subject
matter of the Proceeding as of May 29, 2021. The hard-to-follow listing of various
events is a red herring, and the Court should not be distracted by the same.

“Tt has long been the case that ‘the jurisdiction of the court depends upon the
state of things at the time of the action brought.’ This time-of-filing rule is
hornbook law (quite literally) taught to first-year law students in any basic course
on federal civil procedure.” Grupo Dataflux v. Atlas Glob. Grp., L.P., 541 U.S.
567, 570-71 (2004) (internal citation omitted). “[T]he proper focus in determining
Jurisdiction are the facts existing at the time the complaint under consideration
was filed.” Civil Rights Educ. & Enforcement Ctr. v. Hosp. Props. Tr., 867 F.3d
1093, 1102 (9th Cir. 2017) (citation omitted) (emphasis added). “The existence of
federal jurisdiction ordinarily depends on the facts as they exist when the
complaint is filed, It cannot be that, by later participating in the suit, the [litigants]
retroactively created . . . jurisdiction that did not exist at the outset.” Lujan v. Defs.
of Wildlife, 504 U.S. 555, 571 n.4 (1992) (cleaned up) (original emphasis). But this

is precisely what the appellees argue.

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Events that occurred post filing of the Objection cannot retrospectively
confer jurisdiction over the Proceeding. So grave is this jurisdictional requirement
that the Supreme Court dismissed an action for lack of subject-matter jurisdiction
as the “only option” where the action began without diversity jurisdiction but was
cured postfiling. The Supreme Court ruled: “A party’s postfiling change in
citizenship cannot cure a lack of subject-matter jurisdiction that existed at the time
of filing in a diversity action. This Court has long adhered to the rule that subject-
matter jurisdiction in diversity cases depends on the state of facts that existed at
the time of filing... . Dismissal for lack of subject-matter jurisdiction is the only
option available here.” Grupo Dataflux v. Atlas Glob. Grp., L.P., 541 U.S. 567
(2004) (internal citation omitted) (emphasis added). Here, appellees argue that
events after May 29, 2021, conferred jurisdiction on the Proceeding. The law is
clear that they do not, and there are no exceptions to the remedy—dismissal of the
Proceeding.

VY. The Core Versus Non-core Determination is Irrelevant to
Ascertaining Subject-Matter Jurisdiction of the Proceeding

The appellees devote significant portions of their Responses arguing whether
the Proceeding was core or non-core under 28 U.S.C. § 157. But that determination
is irrelevant. “Section 157 allocates the authority to enter final judgment between

the bankruptcy court and the district court. See §§ 157(b)(1), (c)(1). That allocation

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does not implicate questions of subject matter jurisdiction.” Stern v. Marshall, 564
U.S. 462, 480 (2011) (emphasis added).

The only Issue here is whether the District Court had jurisdiction over the
Proceeding under 28 U.S.C. §§ 1334(b). The Responses cite the statutory
framework for claim objections which provide that objections to claims are “core”
proceedings, and that bankruptcy courts have jurisdiction to hear and determine
such proceedings. Then, they concluded the Proceeding was “core” because it was
a Claim objection. The determination warranted here is whether the substance of
the Objection renders it to be the kind of proceeding described as a claim objection
under the statute. It does not, and appellees have no response to this outcome-
determinative point.

Tellingly, the critical statute MCG left out of its recitation of the statutory
framework is 11 U.S.C. § 502, entitled “Allowance of claims or interests,” that
actually governs claim objections in a bankruptcy case. An objection challenging
the allowance of a claim pursuant to 11 U.S.C. § 502(b) is a “core” proceeding
under 28 U.S.C. § 157(b)(2)(B), and seeks to disallow a claim against the estate, at
least to some “extent.” Here, however, the Objection did not invoke 11 U.S.C. §
502(b), and expressly stated that MCG did ot object to the validity, amount, or
allowance of VOL’s Claim 3 against the estate, and did not object “to the Debtor’s

plan to pay Vitamins’ claim in full.” [Exhibit G, pg. 3:12-13.] Thus, the Objection

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was a claim objection only in form (because of the pleading’s caption). In
substance, it was a Proceeding between two non-debtors raising a dispute about a
contract to which the debtor was not a party, and the resolution of which will not
impact the estate.

The lower courts are to judge the Objection based on its substance and not
on its form. See Bankr. Receivables Mgmt. v. Lopez (In re Lopez), 274 B.R. 854,
862 (9th Cir. BAP 2002) (“A pleading is to be judged by its substance rather than
by its form or label.” (cleaned up), aff'd, 345 F.3d 701 (9th Cir. 2003)). “The focus
of this analysis is thus on the ‘substance’ of the action, ‘rather than [on] the formal
language employed or the form of the pleadings.’” Kona Enterprises, Inc. v. Estate
of Bishop ex rel. Peters, 229 F.3d 877, 884 (9th Cir. 2000). “The character of the
action should be determined from the facts and issues raised in the complaint, the
nature of the entire grievance, and the relief sought.” /d.

VI. The Stipulation Was At The Heart of the Jurisdictional Issue of
the Proceeding

MCG characterized VOL’s stipulation as “entirely irrelevant to the singular
jurisdictional issue raised by the Motion.” [MCG Response, pg. 8.] However,
MCG’s rejection of the stipulation was at the heart of the jurisdictional issue
because the Constitution limits federal jurisdiction to justiciable “cases” and
“controversies” U.S. Const. art. III, § 2, cl. 1, and had MCG agreed to the

Stipulation, there would have been no controversy between VOL and MCG, and

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MCG would have received 100% of what it claimed it was owed without judicial

intervention.

VII. The Confirmation Order and the Confirmed Plan Cannot Confer
Jurisdiction on the Proceeding

In Section V, MCG argues that the confirmation order somehow confers
jurisdiction over the Proceeding. MCG is wrong.

Retention of jurisdiction provisions will be given effect, assuming there is
bankruptcy court jurisdiction. But neither the bankruptcy court nor the
parties can write their own jurisdictional ticket. Subject matter jurisdiction
“cannot be conferred by consent” of the parties. Where a court lacks subject
matter jurisdiction over a dispute, the parties cannot create it by agreement
even in a plan of reorganization. Similarly, if a court lacks jurisdiction over a
dispute, it cannot create that jurisdiction by simply stating it has jurisdiction
in a confirmation or other order. A retention of jurisdiction provision within
a confirmed plan does not grant a bankruptcy court jurisdiction. Bankruptcy
courts can only act in proceedings within their jurisdiction. If there is no
Jurisdiction under 28 U.S.C. § 1334 or 28 U.S.C. § 157, retention of
Jurisdiction provisions in a plan of reorganization or trust agreement are
fundamentally irrelevant.

/n re Resorts Intern., Inc., 372 F.3d 154, 161 (3d Cir. 2004) (internal citations

omitted); Gupta v. Quincy Med. Ctr., 858 F.3d 657, 663-64 (Ist Cir. 2017).

CONCLUSION
The Motion provided a “Statement of Undisputed Facts,” and requested
relief based upon the application of those facts to well-settled law and clearly

binding precedents. Neither MCG nor Heartwise disputes the facts that VOL relied

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upon. Their red-herring arguments attacking a strawman should be disregarded,
and lack merit. Appellees failed in their one and only task, i.e., their Responses
make no showing that the outcome of the Proceeding has an effect on the
bankruptcy estate. Now therefore, having clearly demonstrated its entitlement to
the relief it seeks as a matter of law, VOL respectfully requests that the Court grant
the Motion, and provide any other relief it deems just and appropriate.

Respectfully submitted,

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Dated: April 6, 2023 De og
LEZ

Douglas A. Plazak
Chad E. Nydegger

 

Attorneys for Vitamins Online. Inc.

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